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                                        Electronically Filed

                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 PIKEVILLE DIVISION
                        CIVIL ACTION NO. 7:22-cv-00007-REW-EBA

                                                  )
 SABRINA ADKINS, et al.                           )
                                                  )
        PLAINTIFFS                                )
                                                  )
 V.                                               )
                                                  )
 BEN FIELDS, et al.                               )
      DEFENDANTS                                  )

        ________________________________________________________________________

        SECOND AMENDED NOTICE TO TAKE DEPOSITION OF MICKEY STINES



        NOTICE IS HEREBY GIVEN, that on Monday, September 16, 2024, at the hour of

 10:00 a.m., the Plaintiffs, by and through counsel, shall take the deposition of Mickey Stines at

 the Pillersdorf Law Offices, 124 West Court Street, Prestonsburg, Kentucky 41653. Said

 deposition shall be taken by stenographic means, for purposes of discovery and for all other

 purposes permitted under the Federal Rules of Civil Procedure.


                                                      Respectfully Submitted,

                                                      /s/ Bethany N. Baxter___________
                                                      BETHANY N. BAXTER
                                                      JOE F. CHILDERS
                                                      CHILDERS & BAXTER PLLC
                                                      THE LEXINGTON BUILDING
                                                      201 WEST SHORT STREET, SUITE 300
                                                      LEXINGTON, KENTUCKY 40507
                                                      PHONE: 859-253-9824
                                                      FAX: 859-347-2310
                                                      COUNSEL FOR PLAINTIFFS

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on September 3, 2024, a copy of the foregoing was served

 electronically in accordance with the method established under this Court’s CM/ECF

 Administrative Procedures and Standing Order upon all parties in the electronic filing system in

 this case.



                                              /s/ Bethany N. Baxter
                                              COUNSEL FOR PLAINTIFFS




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